Case 3:23-cr-30022-RAL         Document 113           Filed 11/07/23     Page 1 of 19 PageID #: 825




                              UNITED STATES DISTRICT COURT

                                 DISTRICT OF SOUTH DAKOTA

                                       CENTRAL DIVISION


  UNITED STATES OF AMERICA,                                            3:23-CR-30022-RAL

                         Plaintiff,

                                                           OPINION AND ORDER ADOPTING
         vs.                                             REPORT AND RECOMMENDATION AND
                                                           DENYING MOTION TO SUPPRESS
  TYSON QUIGLEY, a/k/a Tyson Stands, and
  ERWIN WHITE LANCE,

                         Defendants.




        Defendants Tyson Quigley, a/k/a Tyson Stands (Quigley), and Erwin White Lance (White

 Lance) face charges for First Degree Burglary, and Quigley separately faces a charge for


 Prohibited Person in Possession of Firearm. White Lance filed a motion to suppress certain


 evidence. Doc. 42, and brief in support thereof. Doc. 43, in which Defendant Quigley joined, Doc.


 44, 46. Magistrate Judge Mark A. Moreno held a hearing on Defendants' Motion to Suppress on


 August 4, 2023, and thereafter issued a Report and Recommendation for denial of Defendants'


 Motion to Suppress. Doc. 79. White Lance objected to the Report and Recommendation, Doc.


 82, which Quigley once again joined, Doc. 83.


        This Court reviews a report and recommendation under the statutory standards of 28 U.S.C.


 § 636(b)(l), which states that "[a] judge of the [district] court shall make a de novo determination




 1 The United States has filed a Superseding Indictment charging each defendant with knowingly
 brandishing, carrying, and using a fireann "during and in relation to a crime of violence" under 18
 U.S.C. §§ 924(c)(l)(A) and (2). Doc.86.

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Case 3:23-cr-30022-RAL         Document 113           Filed 11/07/23   Page 2 of 19 PageID #: 826




 of those portions of the report or specified proposed findings or recommendations to which


 objection is made." After a de novo review of the evidence, this Court overrules Defendants'


 objections, adopts Magistrate Judge Moreno's Report and Recommendation, Doc. 79, and denies


 Defendants' Motion to Suppress, Doc. 42.


     I. Facts Relevant to Motions to Suppress


        On January 1,2023, at around 8:57a.m.,Rosebud Sioux Tribe Law Enforcement (RSTLE)


 Dispatch received a call for service from Leslie Fool Bull requesting an officer and reporting that


 a man showed up at her house waving a gun and left in a gold-colored Chrysler. ST at 15; Ex. 4


 at 2, 6 at 7. RSTLE Dispatch relayed the request to RSTLE Officer Lowicha Falls Rock, who

 responded to the Fool Bull residence after first patrolling the immediate vicinity in search of the

 gold Chrysler. ST at 15; Ex. 6 at 7. Once at the Fool Bull residence, Officer Falls Rock spoke


 with Bryan Eagle Deer who described how two men dressed in all black and wearing red bandanas


 entered the Fool Bull residence looking for Chuck Cordier, Leslie Fool Bull's boyfhend. Ex. 6 at


 7. Eagle Deer stated that one of the two men had a gun and the other carried a bat; he identified


 the man carrying the bat as White Lance and the man wielding the gun as Quigley. ST at 16; Ex.


 6 at 7. Officer Falls Rock also took a report from Leslie Fool Bull. ST at 16; Ex. 6 at 7. Fool


 Bull's report corroborated Eagle Deer's statements and identification of the two men. Ex. 6 at 7.


 Fool Bull further informed Officer Falls Rock that Quigley entered her bedroom uninvited and

 waved the pistol around demanding to know where he could find Cordier. Id. Ultimately, the two


 men left in what Eagle Deer and Fool Bull described as a gold Chrysler with dealer tags. Id. Fool

 Bull remembered the dealer tags to have a red coloring. Id.




 2 The transcript from the August 4, 2023 suppression hearing will be cited as "ST"; Exhibits
 admitted at the suppression hearing will be cited as "Ex."

                                                  2
Case 3:23-cr-30022-RAL          Document 113         Filed 11/07/23      Page 3 of 19 PageID #: 827




         Officer Falls Rock spent part of his shift patrolling surrounding communities in Todd

 County searching for the gold Chrysler with dealer tags. ST at 17; Ex. 6 at 7. Later that day, at


 around 3:00 p.m., RSTLE Officer lan Little Shield joined Officer Falls Rock. ST at 18; Ex. 6 at

 9,10. Shortly after 4:00 p.m., the two officers, followed by RSTLE Officer Blacksmith, located a


 gold Chrysler with dealer tags and a red BECK dealer plate at the residence of lone Quigley,

 Quigley's mother. ST at 18, 98; Ex. 6 at 9, 10. The Chrysler was parked in lone's front yard, but


 Officer Falls Rock saw that the vehicle had its engine running, so he activated his emergency lights

 and pulled up behind it. ST at 18; Exs. 10 at 16:37:50, 11 at 14.

         As the officers left their patrol vehicles to approach the Chrysler, Quigley and two females

 exited the car. ST at 19, 72-73; Ex. 6 at 9, 10, 23. White Lance remained seated in the front


 passenger seat. ST at 19; Ex. 6 at 9, 23. The two females went into lone's house, but Quigley


 stopped after Officer Falls Rock drew his duty pistol and commanded him to get on the ground.


 ST at 73-74; Ex. 6 at 9-10. Quigley complied, and Officer Falls Rock, with Officer Little Shield's

 assistance, handcuffed him and placed him in the back of his patrol car. ST at 74; Ex. 6 at 9, 10.


 After assisting Officer Falls Rock, Officer Little Shield walked over to the front passenger door

 where Officer Blacksmith had handcuffed White Lance, who was then placed in another police

 cmiser. Ex. 6 at 9, 10, 23; Ex. 12 at 16:16:55. Officer Blacksmith returned to the passenger side


 of the Chrysler were he and Officer Little Shield saw a spent brass shell casing in the windshield

 wiper well, a red baseball bat resting between the front passenger seat and center console, and a


 roofing hatchet laying on the floor in front of the passenger seat. Ex. 2 at 2, 6 at 9, 10, 23. Officer




 3 Beck Motor Company is a car dealership located in Pierre, South Dakota, which holds itself out
 as serving the communities of Chamberlain, Eagle Butte, Huron, and Rapid City, South Dakota.
 https ://www.beck-motors. corn/.
Case 3:23-cr-30022-RAL         Document 113        Filed 11/07/23      Page 4 of 19 PageID #: 828




 Little Shield shared his discovery of the shell casing over the radio with Officer Falls Rock and

 RSTLE Special Agent Richard Kumley. Exs. 12 at 16:17:25, 13 at 3.

        Officers Little Shield and Blacksmith then searched the rest of the vehicle while Officer

 Falls Rock began taking pictures documenting the car. Ex. 10 at 16:17:00. During the vehicle


 search. Officer Little Shield opened the rear driver's side door from which Quigley had exited and

 located a .40 caliber Smith and Wesson handgun tucked in the seat pouch behind the driver's seat.


 Exs. 12 at 16:19:26, 13 at 4. Officer Little Shield conveyed this to Officer Falls Rock who then

 documented the gun for evidence. Exs. 10 at 16:17:30, 13 at 5.


        After completing the vehicle search, Officer Little Shield spoke to White Lance about some

 facial injuries he appeared to have suffered. ST at 74-75; Exs. 12 at 16:32:56, 13 at 12. White

 Lance told Officer Little Shield that he had been assaulted the previous night. Exs. 12 at 16:32:56,

 13 at 13. Based on Officer Little Shield's recommendation. Officer Blacksmith transported White

 Lance to the emergency room for a medical evaluation. Ex. 6 at 24. The next day. Special Agent


 Kumley interviewed White Lance at the Rosebud Sioux Tribe Adult Correction Facility. ST at

 88-89. Special Agent Kumley read White Lance the Rosebud Sioux Tribe Advice of Rights Form

 containing the Miranda warnings, which White Lance signed, expressing his willingness to answer


 questions without an attorney present. ST at 89; Ex. 9.


    II. Discussion


    A. Factual Objections


        Defendants first object to the Report and Recommendation's finding that Officer

 Blacksmith "observed a spent pistol shell casing in the [Chrysler's] windshield wiper well and a

 red baseball bat and a roofing hatchet on the floor where White Lance had been sitting." Doc. 82


 at 1 (quoting Doc. 79 at 3). Defendants object because Officer Blacksmith did not testify at the
Case 3:23-cr-30022-RAL            Document 113     Filed 11/07/23       Page 5 of 19 PageID #: 829




 suppression hearing and his police report was admitted into evidence over several objections by


 defense counsel. Doc. 82 at 1; ST at 90-93.


         The Federal Rules of Evidence do not strictly apply when determining the admissibility of

 evidence at a suppression hearing. Fed. R. Evid. 104(a), 1101(d)(l); United States v. Matlock,

 415 U.S. 164, 172-173 (1974) ("[T]he rules of evidence normally applicable in criminal trials do

 not operate with full force at hearings before the judge to determine the admissibility of

 evidence."); United States v. Henderson, 471 F.3d 935, 938 (8th Cir. 2006). "At a suppression


 hearing, the court may rely on hearsay and other evidence, even though that evidence would not


 be admissible at trial." Henderson, 471 F.3d at 938 (citing United States v. Raddatz, 447 U.S.667,


 679 (1980)). In Matlock, the Supreme Court of the United States held that it was error for a district

 court to exclude evidence based on a violation of the mles of evidence in a suppression hearing.


 415 U.S. at 175. The Supreme Court even expressed positive sentiment for the proposition that


 "in proceedings where the judge himself [or herself] is considering the admissibility of evidence

 [like suppression hearings], the exclusionary rules, aside from rules of privilege, should not be


 applicable." Id. In such instances, "the judge should receive the evidence and give it such weight


 as his [or her] judgment and experience counsel." Id.


         Magistrate Judge Moreno did just that; in overruling Defendants' objections to the

 admission of Suppression Hearing Exhibit 6, which includes Officer Blacksmith's police report,

 Judge Moreno said that "[t]o the extent that the exhibits are cumulative or not the best evidence,


 the Court can decipher that out in its review and examination of the evidence." ST at 92. Judge


 Moreno also noted that Defendants' objections primarily go the "the weight of the evidence, not


 its admissibility." Id. at 93.
Case 3:23-cr-30022-RAL          Document 113         Filed 11/07/23       Page 6 of 19 PageID #: 830




          Page three of the Report and Recommendation references Officer Blacksmith and the


  content of his police report largely to furnish background information on White Lance's arrest, as


  well as the identification of the brass shell casing and red baseball bat, all of which could have

  been inferred or drawn directly from other evidence at the suppression hearing, such as Officer


  Falls Rock's and Officer Little Shield's own police reports, their body-camera footage, and the


  transcripts from the body-camera footage. Ex. 6 at 10; Exs. 11, 12,13, 14. In their objections,


  Defendants present no argument on how Judge Moreno gave undue weight to Officer Blacksmith's


  police report, recited inaccurate facts, or came to an erroneous legal conclusion as a result. Instead,


  Defendants merely state that the exhibit supporting such facts was admitted over their objections.


  But as Judge Moreno infomied counsel when overruling their objections, the Federal Rules of


  Evidence do not require the court to disregard such evidence when deciding suppression issues.


  ST at 92-93. And without Defendants demonstrating how Judge Moreno afforded undue weight


 to Officer Blacksmith's report contrary to what experience and judgment would counsel, this Court


  finds no error on page three of Judge Moreno's portrayal of the facts and thus overrules


 Defendants' objection to the Report and Recommendation's reference to Officer Blacksmith's


 police report.


     B. Legal Objections

         The Defendants also object to Judge Moreno's reasoning that White Lance lacks standing


 to assert a curtilage argument; that the Chrysler was not within the curtilage of lone Quigley's


 home; that even if it were within the home's curtilage, RSTLE had a legitimate law enforcement


 objective for entering the curtilage and the invasion of privacy was minimal; that the search of the

 Chrysler was proper under the automobile exception and plain view doctrine; that White Lance's


 statements to Officer Little Shield did not violate Miranda; and that White Lance's statements to
Case 3:23-cr-30022-RAL         Document 113        Filed 11/07/23       Page 7 of 19 PageID #: 831




 Special Agent Kumley were not "fruit of the poisonous tree." This Court addresses each objection


 in turn below.


     1. Fourth Amendment Standing


        Defendant White Lance objects to the portion of the Report and Recommendation that

 states he lacks standing to assert a curtilage argument involving the lone Quigley residence. The


 Fourth Amendment protects "[t]he right of the people to be secure in their persons, houses, papers,


 and effects, against unreasonable searches and seizures." U.S. Const. amend. IV; United States


 v. Douglas, 744 F.3d 1065, 1069 (8th Cir. 2014). The Indian Civil Rights Act of 1968 (ICRA)

 extends these fundamental protections to guard against violative conduct by tribal law enforcement


 in Indian country. See 25 U.S.C. § 1302(a)(2); United States v. Clifford, 664 F.2d 1090, 1091 n.3

 (8th Cir. 1981). The Fourth Amendment is a "personal right that must be invoked by an

 individual," Minnesota v. Carter, 525 U.S. 83, 88 (1998); it cannot be asserted vicariously,


 Douglas. 744 F.3d at 1071 CquotinR Alderman v. United States, 394 U.S. 165, 174 (1969)). A

 person's "capacity to [assert] the protection of the Fourth Amendment depends . . . upon whether


 the person who claims [its protection] has a legitimate expectation of privacy in the invaded place."


 Carter, 525 U.S. at 88. A legitimate expectation of privacy exists when "[t]he person challenging


 the search has ... a subjective expectation of privacy and that the expectation is objectively


 reasonable; that is, one that society is willing to accept." United States v. Mendoza, 281 F.3d 712,


 715 (8th Cir. 2002) (citation omitted).

        For a house guest to assert Fourth Amendment rights in another's home, the asserting party


 must show that he or she personally has an objectively reasonable expectation of privacy in the


 place at issue. United States v. Kuenstler, 325 F.3d 1015. 1020 C8th Cir. 2003); see also Kvllo v.


 United States. 533 U.S. 27, 33 (2001) ("[A] Fourth Amendment search does not occur—even when
Case 3:23-cr-30022-RAL         Document 113           Filed 11/07/23       Page 8 of 19 PageID #: 832




 the explicitly protected location of a house is concerned—unless 'the individual manifested a


 subjective expectation of privacy' . . . and 'society [is] willing to recognize that expectation as


 reasonable.'" (second altemation in original)). It is well settled that overnight guests have a


 reasonable expectation of privacy in their host's home. Carter, 525 U.S. at 90. "[A]n overnight


 guest in a home may claim the protection of the Fourth Amendment, but one who is merely present


 with the consent of the householder may not." Id; see also United States v. Nabors, 761 F.2d


 465, 468 (8th Cir. 1985) (recognizing that a '"casual visitor' to a house does not possess a


 legitimate expectation of privacy sufficient to challenge [a] search").


        White Lance's argument runs contrary to Carter's plain expression that a non-ovemight


 guest present with the householder's consent lacks Fourth Amendment protection in the


 householder's residence.4 See United States v. Rose, 613 Fed. App'x 125, 129-30 (3d Cir. 2015)


 (declining to interpret Carter expansively to recognize a non-ovemight guest's expectation of


 privacy merely because the guest was "legitimately on [the] premises"). Even if this Court were


 to read Carter to allow such an interpretation. White Lance failed to present facts showing a




  At least one court outside the Eighth Circuit has recognized that "being an overnight guest is not
 the sole means by which one may claim an expectation of privacy in another's home." Hill v.
 United States. 664 A.2d 347. 352 CD.C. 1995) Cciting Rose v. United States, 629 A.2d 526,530
 (D.C. 1993)). Even under that court's mle, however. White Lance's argument fails. The District
 of Columbia Court of Appeals recognizes that a non-ovemight guest may have a reasonable
 expectation of privacy in a home in which they have the "freedom and capacity of entry and use
 analogous to that of an inhabitant of the premises." Hill, 664 A.2d at 353; see Rose, 629 A.2d at
 531-32 (explaining that the defendant had a legitimate expectation of privacy in a relative's
 apartment because defendant had his own key, permission to come and go as he pleased, and had
 authority to admit or exclude others from the residence); see generally Junior v. United States, 634
 A.2d 411, 413, 419, (D.C. 1993) (overruling trial court's determination that defendant lacked
 Fourth Amendment standing because he was not an overnight guest and remanding for trial court
 to determine whether defendant had a reasonable expectation of privacy in a residence he visited
 daily to care for homeowner's disabled child, of whom he was a guardian). White Lance lacks the
 sort of relationship with the lone Quigley home to prevail under these out-of-circuit cases more
 liberally applying the Fourth Amendment.

                                                  8
Case 3:23-cr-30022-RAL         Document 113        Filed 11/07/23       Page 9 of 19 PageID #: 833




  reasonable expectation of privacy at the Quigley home. Before the Supreme Court's decision in


  Carter, the Eighth Circuit in Nabors analyzed whether a non-ovemight guest legitimately on the


 premises of his or her host had an objectively reasonable expectation of privacy in the host's


  residence. 761 F.2d 465, 468-69. In holding that the guest did not have Fourth Amendment


 protection, the court considered several factors: (1) whether the party had a key to the residence;


  (2) whether the party had the authority to exclude others from the premises; (3) whether the party

  enjoyed "virtually unencumbered access"; and (4) whether the party received mail or kept personal


 belongings at the premises. Nabors, 761 F.2d at 468-70.


         The facts here reveal that White Lance cannot satisfy any of the above factors and therefore


  fails to establish an objectively reasonable expectation of privacy in lone Quigley's home.


 Although White Lance has been a casual visitor at the Quigley residence on more than one


  occasion, no evidence shows that he had his own key to the house, had authority to admit and


  exclude others from the premises, had enjoyed unencumbered access to the household, had


 received mail or kept personal belongings at the residence, or that he had ever stayed the night at


 the Quigley residence before. See Nabors, 761 F.2d at 469-70 (holding no reasonable expectation


 of privacy for a non-overnight guest despite visiting the residence "two or three days a week" over


 six months). Without evidence showing that White Lance was an overnight guest on December


 31,2022,or January 1, 2023, or had the authority to use the residence in a manner analogous to its


 primary occupant,5 he has failed to show a subjective expectation of privacy in lone Quigley's




 5 The Eighth Circuit's decisions post-Carter appear to require a standard similar to the "freedom
 and capacity of entry" standard discussed in footnote 2. In cases involving non-ovemight motel
 room guests, the Eighth Circuit has held that the guest must have some possessory interest in or
 right to use the premises as if they are the primary occupant of said premises to have an objectively
 reasonable expectation of privacy in the place at issue. See generally United States v. Walton, 1 88
 Fed. App'x 531, 533-534 (8th Cir. 2006) (addressing whether a motel room guest has a reasonable
 expectation of privacy in another's motel room when they do not spend the night).
Case 3:23-cr-30022-RAL         Document 113         Filed 11/07/23      Page 10 of 19 PageID #: 834




  residence that "society is willing to accept." See Mendoza, 281 F.3d at 715. This Court therefore


  overrules White Lance's objection to the Report and Recommendation's conclusion that he lacks


  standing to assert the protection of lone Quigley's curtilage.


      2. Curtilage Protection


         Defendants moved to suppress evidence obtained through law enforcement's search of the


  Chrysler under the theory that it was within the curtilage of lone Quigley's home and thus not


  subject to the automobile exception to the warrant requirement or the plain view doctrine. After


  analyzing Defendants' assertion under the appropriate Dunn factors. Judge Moreno reasoned that


  White Lance's car was not located within lone Quigley's curtilage and thus not subject to


  heightened Fourth Amendment protection. Defendants objected, asserting that Collins v. Virginia,


  138 S. Ct. 1663 (2018), is controlling on these facts.

         All persons have an objectively reasonable expectation of privacy within their own homes.


  See Pavton v. New York, 445 U.S. 573, 590 (1980) ("[T]he Fourth Amendment has drawn a firm

  line at the entrance to the house."). Under the Fourth Amendment, the home also includes


  curtilage, the area immediately surrounding and intimately associated with the home. See United


  States v. Dunn, 480 U.S. 294, 300 (1987). The Fourth Amendment's protections do not, however,


  extend to all areas within the property boundaries of a lot on which a house sits. See generally id;


  Collins, 138 S. Ct. at 1670. To qualify as curtilage, "the area in question [must be] so intimately


  tied to the home itself that it should be placed under the home's 'umbrella' of Fourth Amendment


  protection." United States v. Wells. 648 F.3d 671. 677 C8th Cir. 2011) ('Quoting Dunn, 480 U.S. at


  301). Curtilage can be contrasted with "open fields"—those areas outside the curtilage which are


  "unoccupied or undeveloped" and do not receive any Fourth Amendment protection. United States


  v. Mathias, 721 F.3d 952, 955 f8th Cir. 2013) (citation omitted); see also Oliver v. United States,




                                                   10
Case 3:23-cr-30022-RAL         Document 113         Filed 11/07/23       Page 11 of 19 PageID #: 835




  466 U.S. 170,180 (1984) (reaffirming "that no expectation of privacy legitimately attaches to open

  fields"). That said, "open fields" need not be technically "'open' nor a 'field'" to fall outside


  curtilage's scope. Mathias, 721 F.3d at 955-56 (citation omitted).


         In determining whether an area falls within a home's curtilage, this Court considers four


  factors: (1) the proximity of the area at issue to the home; (2) whether the area at issue is included

  in an enclosure that surrounds the home; (3) the nahire of the uses to which the defendant puts the


  area; and (4) the steps taken by the resident to protect the area from the public's wandering eye.


  Wells, 648 F.3d at 677 Cquoting Dunn, 480 U.S. at 301). The application of these factors helps

  determine whether an individual may reasonably expect an area intimately associated with their


  home will fall within the home's 'umbrella' of Fourth Amendment Protection. Dunn, 480 U.S. at


  301.


         The case on which Defendants rely, Collins v. Virginia, is distinguishable and suggests


  that White Lance's car falls outside the curtilage of lone Quigley's home. In Collins, law


  enforcement witnessed a motorcyclist commit traffic violations on two separate occasions; both


  times, the driver eluded police. 138 S. Ct. at 1668. After additional investigation, officers learned


  that the motorcycle was likely stolen and in Collins's possession. Id. Police discovered


  photographs on Collins's Facebook page showing the motorcycle parked in the driveway of his

  girlfriend's home, where Collins regularly stayed the night. Id. Without a warrant, the officers


  drove to the house where, from their parked car on the street, they spotted what appeared to be a


  tarped motorcycle at the top of the driveway. Id. One of the responding officers exited the police


  cmiser, walked up to the motorcycle, untarped the motorcycle, took photos, and ran the


  motorcycle's license plate and VEST number. Id.




                                                   11
Case 3:23-cr-30022-RAL         Document 113        Filed 11/07/23      Page 12 of 19 PageID #: 836




         After being indicted for receiving stolen property, Collins moved to suppress the evidence


  obtained from the officer's warrantless search. Id. at 1669. The trial court denied Collins's motion


  to suppress, and the Virginia Supreme Court affirmed the trial court's decision based on the


  automobile exception. Id. at 1669. The Supreme Court reversed, holding that "the automobile


  exception does not permit an officer without a warrant to enter a home or its curtilage in order to


  search a vehicle therein." Id. at 1675. In determining that the motorcycle was within the home's


  curtilage, the Supreme Court described the motorcycle's location in relation to the house:


         According to photographs in the record, the driveway runs alongside the front lawn
         and up a few yards past the front perimeter of the house. The top portion of the
         driveway that sits behind the front perimeter of the house is enclosed on two sides
         by a brick wall about the height of a car and on a third side by the house. A side
         door provides direct access between this partially enclosed section of the driveway
         and the house. A visitor endeavoring to reach the front door of the house would
         have to walk partway up the driveway, but would turn off before entering the
         enclosure and instead proceed up a set of steps leading to the front porch. When
         Officer Rhodes searched the motorcycle, it was parked inside this partially enclosed
         top portion of the driveway that abuts the house.


  Id,at 1670-71.


         The facts concerning the Chrysler's location in this case are markedly different than those


  in Collins. The Chrysler was parked with the engine running, just off the public road, in lone's


  unenclosed, open, and undeveloped front yard, to the left of a roughly 35-foot-long driveway. ST


  at 18; Exs. 1 at 7, 2 at 1, 3 at 1-6, 6 at 28-29, 11 at 14. The house was on the driveway's right


  side when looking from the street—the opposite side from which the car was parked. Exs. 1 at 7,


  3 at 2. The Chrysler was not parked next to a house in a garage-like enclosure with a tarp atop it;


  the Chrysler was stopped and still running with passengers inside adjacent to a street many yards


  from the Quigley's home. ST at 18,20,28-29; Ex. 3.


         Application of the four factors from Dunn weigh in favor of finding the Chrysler to be

  outside the home's curtilage. The Chrysler was an estimated 35 yards from lone's home; the yard


                                                  12
Case 3:23-cr-30022-RAL          Document 113         Filed 11/07/23       Page 13 of 19 PageID #: 837




  is not surrounded by any sort of enclosure; no evidence suggests a private nature of use for the


  portion of the yard where the Chrysler stopped; and the space appears open to neighbors and the


  public at large. Ex. 3. Without evidence showing that the Quigleys took steps to protect their front


  yard from public view or used that space for activities most commonly preserved for areas


  "intimately linked to the home . . . where privacy expectations are most heightened," Defendants'


  objection must be overruled. California v. Ciraolo. 476 U.S. 207, 213 0986); see United States


  v. Bausbv, 720 F.3d 652, 656-57 (8th Cir. 2013) (holding that a motorcycle sitting in a front yard

  enclosed by a chain-link fence was not within the curtilage of the resident's home); United States


  v. Moses, Crim No. 2:21-cr-160-l, 2023 U.S. Dist. Lexis 84247, at *15, 17 (W.D. Pa. May 12,


  2023) (holding that a car parked 20 feet into driveway was not within curtilage because that portion

  of driveway "was readily visible from the street and from neighbors' yards," and the residents took


  no "steps to protect the front yard and driveway by erecting a fence, gate, or physical structure to


  create an enclosure"); Rieck v. Jensen, 651 F.3d 1188, 1193 (10th Cir. 2011) ("[A] driveway

  abutting and clearly visible from a public [throughway] is not a suitable setting for intimate

  activities associated with a home."); see generally Katz v. United States, 389 U.S. 347, 351 (1967)


  ("What a person knowingly exposes to the public ... is not a subject of Fourth Amendment


  protection.").


          Defendants also object to Judge Moreno's alternative conclusion, which stated that even if


  the area in issue constitutes curtilage, officers had a legitimate law enforcement objective to justify


  the minor intrusion onto lone Quigley's front lawn. To make this objection, the defendants merely


  assert that "White Lance's car was within the curtilage and [they] object[] to the Magistrate Judge's

  conclusion to the contrary." Doc. 82 at 2.




                                                    13
Case 3:23-cr-30022-RAL         Document 113         Filed 11/07/23      Page 14 of 19 PageID #: 838




          The Eighth Circuit has consistently held that "where a legitimate law enforcement

  objective exists, a warrantless entry into the curtilage is not unreasonable under the Fourth


  Amendment, provided that the intmsion upon one's privacy is limited." United States v. Beimet,


  972 F.3d 966, 971 (8th Cir. 2020) (quoting United States v. Bearden, 780 F.3d 887, 893 (8th Cir.

  2015)); United States v. Weston. 443 F.3d 661. 667 C8th Cir. 2006); see United States v. Raines,

  243 F.3d 419, 421 (8th Cir. 2001). For instance, in Weston, two law enforcement officers


  responded to Weston's residence to investigate reports of stolen vehicles. 443 F.3d at 664.


  Weston's residence was not visible from the public throughway by which it could be accessed. Id.


  The property was also fenced in with "a gate block[ing] the driveway entrance." Id. The residence


  was further separated from the gate by an approximately 200-yard-long driveway and was oriented


  in such a manner that the house's front door was not visible from the fence. Id. The responding


  officers proceeded through the unlocked, but possibly closed, gate to the home's front door. Id.


  While there, they observed equipment and ingredients commonly used in manufacturing


  methamphetamine. Id. The officers relied on their observations to obtain a search warrant that


  yielded evidence used to prosecute Weston. Id. at 664-65. Weston moved to suppress the


  evidence, which the district court denied. Id. at 666. On appeal, the Eighth Circuit held that the

  officers' entry into Weston's curtilage was reasonable under the circumstances because the


  intrusion was limited and done in furtherance of a legitimate law enforcement objective—


  attempting to contact a potential suspect to obtain his consent to search for evidence of the crime.


  Id, at 667.


          Here, the officers' intrusion on the Quigley property was much more limited and more


  directly related to the legitimate law enforcement objective of finding those persons who earlier


 that day entered a home to threaten the reporting parties with a gun and a bat, and then drove off




                                                   14
Case 3:23-cr-30022-RAL         Document 113         Filed 11/07/23      Page 15 of 19 PageID #: 839



  in a gold Chrysler. ST at 15-16; Ex. 6 at 7. The officers entered lone Quigley's front lawn (which


  had no fence, wall, gate, or physical enclosure) only after they identified the suspects' Chrysler


  sitting occupied and running on the property. Approaching an occupied car associated with an


  armed burglary is at least as legitimate a law enforcement objective as seeking consent to search


  for evidence of stolen vehicles, see Weston, 443 F.3d at 667, or locating a civil defendant to serve


  process upon them, see Raines, 243 F.3d at 421.


     3. Vehicle Search


         Defendant White Lance objects to Judge Moreno's determination that law enforcement's


  search of the Chrysler (which White Lance owned) and the evidence seized as a consequence was


  lawful under the automobile exception to the warrant requirement and the plain view doctrine.


  White Lance's objection hinges on his belief that the car was protected as within the home's


  curtilage. He asserts that the automobile exception does not apply because the vehicle was within


  curtilage, and the plain view doctrine does not apply because the officers' presence on lone


  Quigley's yard was trespassing. Doc. 43 at 6. Because the Chrysler was not within the home's


  curtilage and he lacks standing to assert such a protection, White Lance's argument fails. This


  Court nonetheless will discuss the propriety of the officers' search and seizure of items within the


  Chrysler.


         Generally, the Fourth Amendment requires the issuance of a warrant founded on probable


  cause before a lawful search or seizure can occur. U.S. Const. amend. IV; United States v.


  Blavlock, 535 F.3d 922,926 (8th Cir. 2008) (citing Marxlajid^Dyson, 527 U.S. 465,466 (1999)).

  The Supreme Court, however, has recognized certain exceptions to the Fourth Amendment's


  warrant requirement, one such exception being an officer's search of an automobile based on


  probable cause. Blaylock, 535 F.3d at 926 ('citing Carroll v. United States, 267 U.S. 132, 153




                                                   15
Case 3:23-cr-30022-RAL         Document 113         Filed 11/07/23     Page 16 of 19 PageID #: 840




  (1925)). Since this exception's origination in Carroll, the Supreme Court has identified multiple

  justifications underlying the exception, including the impracticability of obtaining a warrant for a

  vehicle that can be moved quickly outside the jurisdiction, "the pervasive regulation of vehicles,"


  and the reduced expectation of privacy one has in their car based on "the relative openness of [its]


  passenger compartment." Id. (citations omitted). Even so, the Supreme Court has made it clear


  that "the automobile exception does not permit an officer without a warrant to enter a home or its


  curtilage in order to search a vehicle therein." Collins, 138 S. Ct. at 1675. As discussed above,


  however. White Lance's car was not parked within the curtilage of lone Quigley's home, nor does


  he have standing to assert such protection. Therefore, so long as RSTLE law enforcement had


  probable cause to search White Lance's vehicle, the search was reasonable under the


  circumstances.


         "A'police officer has probable cause to conduct a search when the facts available to him


  [or her] would warrant a person of reasonable caution in the belief that contraband or evidence of


  a crime is present." Florida v. Harris, 568 U.S. 237, 243 (2013) ('citing Texas v. Brown, 460 U.S.


  730, 742 (1983)) (cleaned up). Probable cause cannot be reduced to a "precise definition or

  quantification." Id (quoting Maryland v. Pringle, 540 U.S. 366, 371 (2003)). All probable cause

  requires is a "fair probability" on which "reasonable and pmdent [people,] not legal technicians,


  act." Id, at 244 (quoting Illmois v. Gates, 462 U.S. 213,238,231 (1983)). In determining whether

  the "practical and common-sensical standard" of probable cause is met, courts look to the totality




  6 Notably, Defendants base their objection only on the inapplicability of the automobile exception
  under the theory ofcurtilage. They do not argue that the search otherwise does not meet the criteria
  necessary for the automobile exception to apply. Therefore, this Court need not undertake an
  exhaustive analysis of the automobile exception, but notes that the car was occupied and running
  when police arrived on scene. See Blaylock, 535 F.3d at 927 (automobile exception applies when
  vehicle appears readily mobile).

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Case 3:23-cr-30022-RAL          Document 113         Filed 11/07/23      Page 17 of 19 PageID #: 841



  of the circumstances. Id. (citations omitted). When probable cause exists, it "justifies the search


  of every part of the vehicle and its contents that may conceal the object of the search." United


  States v. Bettis, 946 F.3d 1024, 1029 (8th Cir. 2020) (citation omitted).

         Under the plain view doctrine, observing contraband or evidence of a crime in a vehicle


  can "give[] rise to probable cause to perform a warrantless search of a vehicle." See United States


  v. West, 280 Fed. App'x 563, 566 f8th Cir. 2008) (-citing Texas v. Brown, 460 U.S. 730, 742^3).


  "For the plain view doctrine to apply, not only must the officer be legitimately in a position to

  view the object, but it must be immediately apparent to the police that they have evidence before


  them." Brown, 460 U.S. at 736.


         "[U]nder the Fourth Amendment, the question is not whether the officers were trespassing,


  but whether [the Defendant] had a reasonable expectation of privacy." United States v. Lakoskey,


  462 F.3d 965, 973 (8th Cir. 2006). An officer does not violate the Fourth Amendment by

  approaching a lawfully stopped car and looking in from the outside after all the occupants have


  exited. United States v. Vinson, 805 F.3d 1150,1152 (8th Cir. 2015). "What a person knowingly

  exposes to the public, even in his own home or office, is not a subject of Fourth Amendment


  protection." Ciraolo, 476 U.S. at 213 (1986) (citation omitted). Officers Falls Rock, Little Shield,

  and Blacksmith all had legal justification to enter lone Quigley's front lawn to investigate a vehicle

  suspected to have been involved in an armed burglary that morning. ST at 18. Additionally, as


  explained in the Report and Recommendation, the finding of the gold, dealer-plated Chrysler, the


  identification of the two suspects, and the plain view observation of the brass shell casing and the


 bat are enough to give rise to probable cause to search the vehicle and seize evidence found.




                                                    17
Case 3:23-cr-30022-RAL         Document 113         Filed 11/07/23     Page 18 of 19 PageID #: 842



     4. White Lance's Statements to Officer Little Shield


         White Lance objects to Judge Moreno's determination that White Lance's statements to


  Officer Little Shield were not the result ofimpermissible custodial interrogation. Although White

 Lance was assuredly within custody when talking to Officer Little Shield, see United States v.


  Garreau, 735 F. Supp. 2d 1155, 1167 (D.S.D. 2010) (stating that a handcuffed, arrested defendant

  sitting in the back seat of a patrol car is in custody for purposes of Miranda), their conversation


  cannot be classified as an interrogation. Officer Little Shield's questions for White Lance


  concerned his apparent injury and whether he needed a medical evaluation. Ex. 13 at 12-15.


  Officer Little Shield asked to see White Lance's injured eye, asked how long it had been like that,

  asked about his blood loss, and informed White Lance that "he was checking to make sure [he]


  don't need stitches or anything on that injury of [his]." Id. at 14. None of these questions were


 tailored to illicit incriminating statements. See id at 12-15. Any information given beyond


  answering those simple questions was unprompted and volunteered by the defendant. See United


  States v. Jackson, 852 F.3d 764, 772 (8th Cir. 2017) (stating that Officers' "questions regarding

  [defendant's] health do not constitute an interrogation").


     5. Fruit of the Poisonous Tree


         White Lance also moves to suppress the statements he made to Special Agent Kumley on


 January 2, 2023. White Lance argues that his statements stem from an illegal search of his car the


 day before. Because that prior search involved no violation of the Fourth Amendment, this Court


 agrees with Judge Moreno that "there is no 'poisonous tree' for any 'tainted fruit' to grow or fall


 from." Doc. 79 (citing United States v. Hessman, 369 F.3d 1016,1023-24 (8th Cir. 2004) (stating

 that no poisonous tree existed when the search preceding the defendant's statements was legal)).




                                                  18
Case 3:23-cr-30022-RAL        Document 113          Filed 11/07/23   Page 19 of 19 PageID #: 843



     III. Conclusion


         For the reasons addressed above, it is


          ORDERED that the Objections to Report and Recommendation, Doc. 82, are overruled


  and that the Report and Recommendation, Doc. 79, is adopted. It is further


         ORDERED that Defendants' motion to suppress, Docs. 42, and its oral supplement, ST at


  9, are denied.


         DATED this 7/c day of November, 2023.

                                                  BY THE COURT:

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                                                  ROBERTO
                                                   LOBERTO A. LANGE
                                                  CHIEF JUDGE




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